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UNITED STATES DISTRICT COURT
FOR THE DISTRICT MASSACHUSETTS

ALEXANDER GRINIS,
MICHAEL GORDON, and ANGEL
SOLIZ, on behalf of themselves and
those similarly situated,

Petitioners
Vv.
NO. 20-cv-10738-GAO
STEPHEN SPAULDING, Warden .
of Federal Medical Center Devens,
and MICHAEL CARVAJAL,

‘Director of the Federal Bureau of
Prisons, in their official capacities,

| Respondents.

 

_DECLARATION OF AMBER BOURKE. CASE MANAGEMENT COORDINATOR
1, Amber Bourke, do hereby declare, certify and state as follows: : |
1. { am employed by the United States Department of Justice, Federal Bureau of Prisons
(BOP). I currently work as ihe Case Management Coordinator (CMC) at the Federal Medical
Center in Devens, Massachusetts (FMC Devens). I have held this position since March 2020, I
have been employed by BOP since October 2012.

2, The CMC’s Office is dedicated to providing oversight of case management activities
within the institution. This office works ditectly with the unit teams, providing training and
disseminating information. to insure that the institution is in compliance with Correctional
‘Programs’ policies and procedures. The CMC provides coordination and oversight of many

programs within the institution, including, but not limited to, Central Inmate Monitoring, Financial

 
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Responsibility, Admission and Orientation, Inmate Performance Pay, Victiny/ Witness Program
and Adam Walsh Act compliance. The CMC also oversees the Correctional Systems Department.

3. FMC Devens is an Administrative security level institution designed to house
approximately 1,200 inmates at the main facility and approximately 128 inmates at the adjacent
Federal Prison Camp (FPC). The main FMC facility and FPC are separate facilities and the inmate
populations do not interact. For purposes of this declaration, when I refer to “FMC Devens”, I am
referring to both the main Federal Medical Center (FMC) and the Federal Prison Camp (FPC),
unless otherwise specified. |

4, FMC Devens offers specialized services for sex offenders, specifically the Sex Offender
Management Program. . |
I. COMPASSIONATE RELEASE/ REDUCTION IN SENTENCE PROCEDURES.

5. BOP does not have the authority to provide inmates with “early release.” A reduction
of an inmate’s federal sentence can only be accomplished by an Article IIT judge, and
_ specifically, the inmate’ s sentencing judge. However, upon an inmate’s request, the Director of
BOP may make a motion to an inmate’s sentencing court to reduce ater of imprisonment under
18 U.S.C. § 4205(g) and 18 U.S.C. § 3582(c)(1)(A). This process is outlined in BOP Program
Statement 5050.50, ‘Compassionate Release/Reduction In Sentence Procedures for
Implementation of 18 U.S.C. §§ 3582 and 4203(g). (This BOP program statement and all other
program statements and operations memoranda cited herein are available at www. bop.goy via
the Resources link). BOP invokes these statutory authorities in “extraordinary or compelling
circumstances,” which could not have reasonably have been foreseen by the cout at the time of |

sentencing. The First Step Act, codified at 18 U.S.C. § 3582, specifies that an inmate may file

 

 

 
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a Motion for Reduction of Sentence directly to the sentencing court after exhaustion of

administrative remedies, or 30 days from the date the Warden receives such a request from the.

inmate, whichever is earlier. The determination of release is ultimately the decision of the
- sentencing court.

6. Upon information and belief, as has been submitted to me from the FMC Devens

. Reduction in Sentence Coordinator, within the past two weeks, approximately 114 Reduction in

Sentence requests have been submitted by FMC Devens inmates, which includes 16 that were

filed today alone. Of these pending and under review, 2 have been forwarded to BOP Central |

Office for further RIS consideration and approval as they have been determined by FMC Devens
to meet RIS criteria. |

7. Concerning the three named Petitioners in this case, each was reviewed for a
Reduction in Sentence by FMC Devens. Alexander Grinis, Reg. No. 01014-138, submitted a
RIS request on or about April 17, 2020 and was denied on or about April 21, 2020. The sole
basis for his request was seeking a release based upon potential COVED infection. It did not
meet the necessary criteria for a RIS under BOP policy.

8. Michael Gordon, Reg. No. 96426-038, submitted a request on or about April 13,
2020 and was denied on Or about April 20, 2020. He also sought a release based on potential
effects of a COVID infection, which alone does not meet the necessary criteria for a RIS under
BOP policy. .

9. Angel Soliz, Sr., Reg. No. 70926-079, submitted arequest on or about August 19,

2019 and was denied on or about September 3, 2019. He was denied at that time as not having

 

 

 

 
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an end of life trajectory such that he met the necessary criteria for a RIS under BOP policy. He
has not submitted an appeal of that decision nor a request for a reconsideration.
II. BOP’S AUTHORITY TO PLACE INMATES ON HOME CONFINEMENT.

10. Although BOP lacks the authority to release an inmate from his sentence, BOP has the
authority to transfer a prisoner to home confinement for the remainder of his or her ‘sentence
pursuant to provisions and limitations set forth I8 U.S.C, §3 624(c)(2)} and 34 USC. § 60541. See
also BOP Program Statement 7320.01, Home Confinement and BOP Operations Memorandum,
Home Confinement under the First Step Act, both of which are available on www.bop.gov via the
, Resources link. |

A. BOP’S AUTHORITY UNDER 18 U.S.C. § 3624(c)(2).
tl. Under 18 U.S.C. § 3624(c)(2}, BOP has the exclusive authority to place a prisoner
in home confinement for the shorter of 10 percent of the term of imprisonment of that prisoner
or 6 months. BOP, shall, to the extent practicable, place prisoners with lower risk levels and
lower needs on home confinement for the maximum amount of time permitted under section
3624(c)(2). During the inmate's incarceration, BOP institution staff are responsible for making
referrals to Residential Reentry Centers (RRCs) or home confmement typically within 17-19
_months of the prisoner’s release date. |
12. In order to appropriately evaluate an individual for home confinement, the staff
assesses the risk of criminal activity in the community and determines whether there is an
appropriate home where the individual can be placed. ‘This is a time arid resource intensive

process. Upon receipt of the staff assessment, BOP reviews the assessment and makes the final

 

 

 

 
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determination regarding home confinement. If approved, absent any disciplinary infractions, the
inmate would serve the remainder of his or her sentence on home confinement.

B. BOP'S AUTHORITY UNDER 34 USC. § 60541.

i3. Under 34 U.S.C. § 60541, BOP may release some or all eligible elderly offenders
and eligible terminally ill offenders from BOP facilities to home detention, upon written request
from either BOP: staff, or an eligible elderly offender or eligible terminally ill offender. The

statute defines “eligible elderly offender” to include an inmate who is not less than 60 years of

age; who is serving aterm of imprisonment that is not life imprisonment based on a conviction |

for an offense or offenses that do not include any crime of violence; has served two-thirds of the
term of imprisonment to which the offender was sentenced: who has not been convicted in the
past of any Federal or State crime of violence, sex offense, or other offense referenced in the
statute, who has not been determined by BOP to have a history of violence, or of engaging in

conduct constituting a sex offense or other excluded offense; who has not escaped, or attempted

to escape from a BOP institution; whose release to home detention will result in a substantial net |

reduction of costs to the Federal Government: and who has been determined by BOP to be at no
- substantial risk of engaging in criminal conduct or of endangering any person or the public if
released to home: detention. |

14. “Eligible ferminally ill offender” is defined as an offender in the custody of BOP
who meets all of the above-stated criteria except the age restriction, and has been determined by
a medical doctor approved by BOP (i.e., Clinical Director of the local institution) to be in need
of care at a nursing home, intermediate care facility, or assisted living facility, or diagnosed with

a terminal illness.

 
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15. In order to appropriately evaluate an elderly or terminally ill individual for home

confinement, BOP assesses the risk of criminal activity in the community and determines

whether there is an appropriate home where the individual can be placed. As mentioned earlier,
this is a time and resource intensive process.

16. If approved, absent any disciplinary infractions, the inmate would serve the
remainder of his or her sentence on home confinement.

17. Pursuant to the statute, a violation by an eligible elderly or terminally ill offender of

the terms of home detention (including the commission of another Federal, State, or local crime)

. Shall result in the removal of that offender from home detention and the return of that offender

fo an appropriate BOP institution, as determined by BOP.
| 18. Inmates that do not meet the criteria for the elderly home confinement can be placed
on home confinement under BOP’s general authority to do so, 18 USC. § 3624(6)(2).
7 19. In light of the COVID-19 pandemic, BOP is maximizing its authority to place

inmates on home confinement and is expediting the process as much as possible in furtherance

of the Attorney General’s memoranda dated March 26, 2020 and April 3, 2020. These

documents directed BOP to prioritize the use of its statutory authorities ‘to erant home
confinement for inmates seeking transfer in connection with the ongoing COVID-19 pandemic, _
and provided further guidance concerning criteria to be used.

C, THE CARES ACT. |

20. The "Coronavirus Aid, Relief, and. Economic Security Act” (CARES) Act, Pub.L.
116-136, authorizes the Attorney General to expand the cohort of inmates who can be considered

for home confinement upon his finding of emergency conditions which are materially affecting

 

 
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the function of BOP. On April 3, 2020, the Attorney General made that finding and authorized

the Director of BOP to immediately maximize appropriate transfers to home confinement of all

appropriate inmates held at FCI Oakdale, FCI Danbury, FCI Elkton, and other similarly situated -

BOP facilities where COVID-19 is materially affecting operations.

21. Pursuant to the Attorney General’s direction, FMC Devens receives rosters of
inmates to be considered for home confinement. That guidance mandates that the following
criteria should be met when reviewing and referring inmates for home confinement: primary or
prior offense is not violent; primary or prior offense is not a sex offense; primary or prior
offense is not terrorism; no detainer for the inmate; the inmate’s Mental Health Care Level is

| less than CARE-MH 4; the inmate’s recidivism risk score is Minimum; the inmate has had no
incident reports in the past 12 months (regardless of severity level); the inmate is a U.S.
citizen; the inmate has a BRAVO score (custody classification) of Low or Minimum; the
inmate has served 50% of their sentence; and the inmate has a viable release plan. As a result
of FMC Devens’ higher population of inmates convicted of sex offenses, many FMC Devens

inmates are ineligible for home confinement. As part of this review, not only does Unit Team

. review each inmate, a review is conducted by the Special Investigative Services Department
(SIS) and the Medical Department. SIS determines if the inmate has engaged in violent or
gang-related activity in prison. Medical conducts multiple reviews. Initially, Medical must
determine the age and vulnerability of the inmate related to COVID-19 tisk factors in
accordance with CDC and prevention guidelines. Additionally, Medical reviews the conditions

under which the inmate would be confined upon release to determine whether those conditions
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would present a lower risk of contracting COVID-19 than the inmate would face at the BOP. .

 

facility, and also determines whether frequent and on-going medical care is required within the

next 90 days.

22. To date, 8 inmates have been approved for transfers to home confinement. The

 

inmates receiving transfers must quarantine for fourteen days prior to transfer. Two of the
eight approved transfers have dates for transfer into home confinement for the week of April
27, 2020. Eight more inmates have previously been referred by FMC Devens Warden to the
Regional Residential Reentry Manager and are being vetted for approval and placement dates.
Ten additional inmates are in the final stage of review at FMC Devens and are soon to be sent
to the Regional Residential Reentry Manager for consideration as well. To date, 118 inmates
have been reviewed under the expanded criteria for home confinement placement and 91 have
been denied home confinement as not meeting all of the stated criteria. |
23. Concerning the three named Petitioners in this case, I will now detail the status and
review of each for extended home confinement, First, Alexander Grinis, Reg. No. 01014-138, was
previously reviewed and has a Residential Reentry Center Home Confinement date of May 21,
2020. This is his first eligibility date for home detention based on his 9-month sentence, with his
Projected Release Date from BOP custody on June 16, 2020. Subsequent to the updated reviews
for extended home confinement consideration, Grinis was reviewed again by Unit Team, SIS, and
Medical within the above criteria, Medical found that Mr. Grinis fit the criteria for being at high’
risk for COVID-19, and he cleared the review by Unit Team and SIS as well. Unit Team was

notified to reach out to the Regional Residential Reentry Manager (RRM) to see if an earlier date
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could be obtained, since he was already approved for May 21, 2020. At this time, the date was
just updated to a revised home confinement date of May 5, 2020.1

24. Michael Gordon, Reg. No. 96426-038, is currently servmg a 15-year sentence with
a Projected Release Date from BOP custody on August 18,2027. He has served approximately 5
years and 5 months, which equates to only 36.6% of his. term of imprisonment. Under the
established criteria mentioned above, he is ineligible for consideration under the expanded home
confinement reviews. His home detention eligibility date remains at February 18, 2027.

25. Angel Soliz, Sr., Reg. No. 70926-079, is currently serving a 20-year (240-month)
sentence with a Projected Release Date from BOP custody on September 13, 2033. He has served
approximately 4 years and 10 days, which equates to only 20.1% of his term of imprisonment.

Additionally, Soliz is not a candidate for extended home confinement because his recidivism risk
score is too high. He has a “Low” recidivism risk score, however a “Minimum” risk score is:
“required. (This is a risk and needs assessment tool. Every inmate has a recidivism classification
score. Pursuant to the reviews currently be conducted for expanded home confinement review,
the lowest recidivism score of “Minimum” is required. Furthermore, Soliz currently has a detainer

’ filed by the State of Texas for a Parole Violation. Warrant filed on February 2, 2017. Under the

 

' tt has just been relayed to me that Grinis is refusing to enter the required quarantine before his
pending release to home confinement. This refusal to accept assignment into quarantine will
result in a disciplinary action and the loss of his pending pre-release placement. Therefore, his
placement into any home confinement date is currently subject to rescission upon the processing
of a disciplinary action. .

 
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established eriteria mentioned above, he is ineligible for consideration under the expanded home

confinement reviews.

 

Pdeclare that the foregoing is true and correct to the best of my knowledge and belief, and
_ js given under penalty of perjury pursvant to 28 U.S.C. § 1746. this Z<._ of April, 2020,

RESPECTFULLY SUBMITTED,

   

 

Ned YU
AMBER BOURKE
Case Management Coordinator
FMC Devens’

 

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